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 United States Bankruptcy Court
 Eastern District ofNew York, Brooklyn Division
                                                                                                            Chapter 13
 INRE:                                                                                                      Case No.1:18-bk-43445
 llason, James Leroy
                                                 Debtor(s)


                                                     AMENDED CHAPTER 13 PLAN

      [X] Check this box if this is an amended plan. List below the sections of the plan which have been changed:
         • Part 2.1

PART I: NOTICES

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
indicate that the option is appropriate in your circumstance or that it is permissible in your judicial district. Plans that do not comply
with the local rules for the Eastern District ofNew York may not be confirmable. If you do not have an attorney, you may wish to
consult one.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should read this
plan carefully and discuss it with your attorney. If you do not have an attorney, you may wish to consult one. If you oppose the plan's
treatment of your claim or any provision of this plan, you or your attorney must file an objection to confirmation at least 7 days
before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may
confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule 30 I 5. In addition, you may
need to file a timely proof of claim in order to be paid under any plan.

1. l: The following matters may be of particular importance. Debton must check one box on each line to state whether or not the
plan includes each of the following items. If an item is checked as "Not Included" or if both or neither boxes are checked, the
provision will be ineffective if set out laier in the plan.


a.     A limit on the amount of a secured claim, set out in Section 3.4, which may result                    [ ] Included   [X] Not included
       in a partial payment or no payment at all to the secured creditor
b.     Avoidance of a judicial lien or nonpossessory, non-purchase-money security                            [ ] Included   [X] Not included
       interest, set out in Section 3.6
c.     Nonstandard provisions, set out in Part 9                                                             [ ] Included   [X] Not included

1.2: The following matters are for informational purposes.

 a.    The debtoris) is seeking to modify a mortgage secured by the debtoris)'s principal residence,         [X] Included   [ ] Not included
       set out in Section 3.3
 b.    Unsecured Creditors, set out in Part 5, will receive 100% distribution of their timely filed claim    [X] Included   [ ] Not included

PART 2: PLAN PAYMENTS AND LENGTH OF PLAN

2.1: The post-petition earnings of the debtor(s) are submitted to the supervision and control of the Trustee and the Debtor(s)
 shall pay to the Trustee for a period of60 months as follows:

$300.00 per month commencing 07/13/2018 through and including 10/13/2018 for a period of 3 months; and

$2,438.30 per month commencing 11/20/2018 through and including 08/20/2023 for a period of 57 months;


2.2: Income tax refunds.

If general unsecured creditors are paid less than I 00%, in addition to the regular monthly payments, during the pendency of this
case, the Debtor(s) will provide the Trustee with signed copies of filed federal and state tax returns for each year commencing with
the tax year , no later than April 15th of the year following the tax period. Indicated tax refunds are to be paid to the Trustee upon
receipt, however, no later than June 15th of the year in which the tax returns are filed.

2.3: Additional payments.
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 Check one.
     [X] None. lf''None" is checked, the rest of §2.3 need not be completed.

 PART 3: TREATMENT OF SECURED CLAIMS

 3.1: Maintenance of payments (including the debtor(s)'s principal residence).

     Check one.
     [X] None. lf''None" is checked, the rest of §3.l need not be completed.

 3.2: Cure of default (including the debtor(s)'s principal residence).

     Check one.
     [X] None. lf''None" is checked, the rest of §3.2 need not be completed.

 3.3: Modification of a mortgage secured by the debtor(s)'s principal residence.
     Check one.
     [ ] The debtor(s) is not seeking to modify a mortgage secured by the debtor's principal residence.
     [X] The debtor(s) is seeking to modify a mortgage secured by the debtor(s)'s principal residence. Complete paragraph below.
     [ ] If applicable, the debtor(s) will be requesting loss mitigation pursuant to General Order #582.

 The mortgage due to LOANCARE on the property known as under account number ending 4524 is in default. All arrears, including
 all past due payments, late charges, escrow deficiency, legal fees and other expenses due to the mortgagee totaling$ 726,473.46,
 may be capitalized pursuant to a loan modification. The new principal balance, including capitalized arrears will be$ 524,000.00,
_and will be_paid at 2% interest amortized over 40 years with an estimated monthly payment of$ 2,216.64 i12cluding principle
 interest, insurance and taxes. The debtor is currently in the process of obtaining a Joan modification. The estimated monthly
 payment shall be paid directly to the trustee while loss mitigation is pending and until such time as the debtor(s) has commenced
 payment under a trial loan modification. Contemporaneous with the commencement of a trial loan modification, the debtor(s) will
 amend the Chapter 13 Plan and Schedule J to reflect the terms of the trial agreement, including the direct payment to the secured
 creditor going forward by the debtor(s}

3.4: Request for valuation of security, payment of fully secured claims, and modification of under-secured claims.
     Check one.
     [X] None. lf''None" is checked, the rest of §3.4 need not be completed.

3.5: Secured claims on personal property excluded from 11 U.S.C. §506.

     Check one.
     [X] None. lf''None" is checked, the rest of §3.5 need not be completed.

3.6: Lien avoidance.

     Check one.
     [X] None. lf''None" is checked, the rest of §3.6 need not be completed.

3. 7: Surrender of collateral.

     Check one.
[X] None. lf''None" is checked, the rest of §3.7 need not be completed.

 PART 4: TREATMENT OF FEES AND PRIORITY CLAIMS

4.1: General.

Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated in §4.5, will be paid
in full without post-petition interest.

4.2: Trustee's fees.

Trustee’s fees are governed by statute and may change during the course of the case.
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4.3: Attorney's fees.

The balance of the fees owed to the attorney for the debtor(s) is$ 0.00.

4.4: Priority claims other than attorney's fees and those treated in §4.5.

Check One.

    [X] None. lf"None" is checked, the rest of §4.4 need not be completed.

4.5: Domestic support obligations.

Check One.
   [X] None. If"None" is checked, the rest of §4.5 need not be completed.

PART 5: TREATMENT OF NONPRIORITY UNSECURED CLAIMS

Allowed nonpriority unsecured claims will be paid pro rata:

    [ J Not less than the sum of$ ___
    [XJ Not less than _ 100 _ % of the total amount of these claims.
    [ J From the funds remaining after disbursement have been made to all other creditors provided for in this plan.
If more than one option is checked, the option providing the largest payment will be effective.

PART 6: EXECUTORY CONTRACTS AND UNEXPIRED LEASES

6.1: The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other
executory contracts and unexpired leases are rejected.

Check one.
[X] None. If"None" is checked, the rest of §6.1 need not be completed.

PART 7: VESTING OF PROPERTY OF THE ESTATE

Unless otherwise provided in the Order of Confirmation, property of the estate will vest in the debtor(s) upon completion of the plan.

PART 8: POST-PETITION OBLIGATIONS

8.1: Post-petition mortgage payments, vehicle payments, real estate taxes, and domestic support obligations are to be made directly
by the debtor(s) unless otherwise provided for in the plan

8.2: Throughout the term of this Plan, the debtor(s) will not incur post-petition debt over$2,500.00 without written consent of the
Trustee or by order of the Court.

PART 9: NONSTANDARD PLAN PROVISIONS

9.1: Check .. None" or list nonstandard plan provisions.

    (X] None. If"None" is checked, the rest of §9.1 need not be completed.

Under Bankruptcy Rule 30/ 5(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not
otherwise included in theform plan or deviatingfrom it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box ..included" in §1.l(c).


PART IO: CERTIFICATION AND SIGNATURE(S):

10. l: I/we do hereby certify that this plan does not contain any nonstandard provisions other than those set out in the final
paragraph.
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Isl James Leroy Mason
Signature of Debtor I                                Signature of Debtor 2

Dated: December 41 2018                              Dated: December 4, 2018
Isl Reza Islam
                                                     Date: December 4, 2018
Signature of Attorney for Debtor(s)
